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       EXHIBIT D
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    MAOC-415000
    Broadband VCO w/ Buffer Amplifier
    10 - 20 GHz                                                                                                                                                              Rev. V1

    Features                                                                                         Block Diagram
        Octave Tuning Bandwidth
        Phase Noise: -90/-118 dBc/Hz @ 100 kHz/1 MHz
        VTUNE Range: 0 - 23 V
        Low Current Consumption: 70 mA
        Excellent Temperature Stability
        +5 V Bias Supply
        Lead-Free 4 mm 24-Lead Package
        RoHS* Compliant and 260°C Reflow Compatible

    Description
    The MAOC-415000 is a wideband voltage controlled
    oscillator operating in the 10 - 20 GHz range. The
    VCO delivers flat output power via a high isolation
    buffer amplifier. The VCO exhibits very low phase
    noise over its operating conditions. A single +5 V
    bias voltage is required, and a tuning voltage of 0 -
    23 V. The device is fully matched and no external
    matching components are required.                                                                Pin Configuration2
    The MAOC-415000 has very low phase noise, stable                                                       Pin No.              Pin Name                       Function
    output power over temperature and excellent tuning
                                                                                                             1-3                    GND                          Ground
    control, making it ideal for applications such as
    communications systems, test and measurement                                                                4                  VTUNE                    Tune Voltage
    and wideband defense applications.
                                                                                                              5, 6                  GND                          Ground
    The 4 mm package has a lead-free finish that is                                                             7                    N/C                   No Connection
    RoHS compliant and compatible with a 260ºC reflow                                                       8 - 11                  GND                          Ground
    temperature. The package features low lead
    inductance and an excellent thermal path.                                                                  12                    VCC                   Supply Voltage
                                                                                                            13, 14                  GND                          Ground
                                                                                                               15                    RF                       RF Output
    Ordering Information1                                                                                   16 - 18                 GND                          Ground
               Part Number                                  Package                                            19                    N/C                   No Connection
        MAOC-415000-TR0100                               100 Part Reel                                      20 - 23                 GND                          Ground
        MAOC-415000-TR0500                                500 Part reel                                        24                    N/C                   No Connection
        MAOC-415000-001SMB                               Sample Board                                         25    3
                                                                                                                                    GND                          Ground

    1. Reference Application Note M513 for reel size information.                                    2. Connecting all N/C and GND pins to RF/DC ground is also
                                                                                                        recommended.
                                                                                                     3. The exposed pad centered on the package bottom must be
                                                                                                        connected to RF, DC and thermal ground.




     * Restrictions on Hazardous Substances, European Union Directive 2011/65/EU.
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    MAOC-415000
    Broadband VCO w/ Buffer Amplifier
    10 - 20 GHz                                                                                                                                                              Rev. V1

    Electrical Specifications: TA = 25°C, VCC = 5 V4, Z0 = 50 Ω
                     Parameter                                              Test Conditions                                       Units             Min.         Typ.            Max.

                   Output Power                                           RF Port, 10 - 20 GHz                                     dBm               —              6             —

                                                              RF Port, 10 kHz Offset, 10 - 20 GHz                                                                 -60
                SSB Phase Noise                               RF Port, 100 kHz Offset, 10 - 20 GHz                               dBc/Hz              —            -90             —
                                                               RF Port, 1 MHz Offset, 10 - 20 GHz                                                                -118

                     Harmonics                                                  RF Port, 2Fo                                        dBc              —            -20             —

                     Pulling
                                                                          RF Port, VSWR = 2:1                                  MHz pk-pk             —             12             —
              (Sensitivity to Match)
                   Pushing
                                                                          RF Port, 10 - 20 GHz                                    MHz/V              —             90             —
       (Sensitivity to Supply Voltage)
            Frequency Drift Rate
                                                                          RF Port, 10 - 20 GHz                                   MHz/ºC              —            1.0             —
         (Sensitivity to Temperature)

               Output Return Loss                                         RF Port, 10 - 20 GHz                                       dB              —              8             —

                  Supply Current                                                       ICC                                          mA               —             70            90

                   Tune Voltage                                                      VTUNE                                            V               0            —             23

           Tuning Current Leakage                                               VTUNE = 23 V                                         µA              —              5             —

    4. VCO can operate over the 4.75 V to 5.25 V supply voltage range.



    Absolute Maximum Ratings5,6,7                                                                    Handling Procedures
                                                                                                     Please observe the following precautions to avoid
                   Parameter                            Absolute Maximum                             damage:
                         VCC                                   +5.5 V
                                                                                                     Static Sensitivity
                       VTUNE                                     25 V
                                                                                                     These electronic devices are sensitive to
           Storage Temperature                           -55ºC to +150ºC                             electrostatic discharge (ESD) and can be damaged
                                                                                                     by static electricity. Proper ESD control techniques
         Operating Temperature                            -40ºC to +85ºC                             should be used when handling these HBM Class 1A
          Junction Temperature             8
                                                               +135ºC                                devices.

    5. Exceeding any one or combination of these limits may cause
       permanent damage to this device.
    6. MACOM does not recommend sustained operation near these
       survivability limits.
    7. Operating at nominal conditions with TJ ≤ +135°C will ensure
       MTBF > 1 x 106 hours.
    8. Junction Temperature (TJ) = TC + Өjc * (V * I)
       Typical thermal resistance (Өjc) = 47° C/W.
          a) For TC = 25°C, TJ = 41°C @ 5 V, 69 mA
          b) For TC = 85°C, TJ = 101°C @ 5 V, 68 mA

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    MAOC-415000
    Broadband VCO w/ Buffer Amplifier
    10 - 20 GHz                                                                                                                                                                                                                      Rev. V1

    Typical Performance Curves: VCC = 5 V, TA=+25°C (unless otherwise indicated)
     Output Frequency vs. Tune Voltage                                                                                       Output Frequency vs. Tune/Supply Voltage
                                 22                                                                                                                          22
                                 21                                                                                                                          21
                                                  +25C                                                                                                                       Vcc=4.75 V
                                 20               -40C                                                                                                      20               Vcc=5.00 V
                                 19               +85C                                                                                                      19               Vcc=5.25 V

                                 18                                                                                                                          18




                                                                                                                                Frequency (GHz)
     Frequency (GHz)




                                 17                                                                                                                          17
                                 16                                                                                                                          16
                                 15                                                                                                                          15
                                 14                                                                                                                          14
                                 13                                                                                                                          13
                                 12                                                                                                                          12
                                 11                                                                                                                          11
                                 10                                                                                                                          10
                                  9                                                                                                                           9
                                       0     2     4      6    8     10     12     14    16   18   20     22    24                                                 0      2   4     6        8     10   12       14   16   18        20     22    24
                                                                Tuning Voltage (V)                                                                                                              Tuning Voltage (V)

     Output Power vs. Tune Voltage                                                                                           Control Sensitivity vs. Tuning Voltage
                                 20                                                                                                                        900

                                                                                                        +25C                                              800                                                                           +25C
                                                                                                        -40C                                                                                                                            -40C
                                                                                                                             Control Sensitivity (MHz/V)




                                 15                                                                     +85C                                              700                                                                           +85C
     Output Power (dBm)




                                                                                                                                                           600
                                 10
                                                                                                                                                           500

                                                                                                                                                           400
                                  5
                                                                                                                                                           300

                                                                                                                                                           200
                                  0
                                                                                                                                                           100

                                  -5                                                                                                                         0
                                       0     2     4      6    8      10     12    14    16   18   20     22    24                                                0       2   4     6       8     10    12       14   16   18       20     22     24
                                                                Tuning Voltage (V)                                                                                                           Tuning Voltage (V)

     Phase Noise vs. Tune Voltage                                                                                            Phase Noise vs. Frequency Offset (VTUNE = 10 V)

                                 -20                                                                                                                        -10

                                 -30                                                                    +25C                                                                                                                             +25C
                                                                                                                                                            -30
                                                                                                                                                                                                                                          -40C
                                                                                                                             SSB Phase Noise (dBc/Hz)




                                 -40
     SSB Phase Noise (dBc/Hz)




                                                                                                                                                                                                                                          +85C
                                 -50                                                                                                                        -50
                                                                           10 kHz
                                 -60
                                                                                                                                                            -70
                                 -70
                                 -80                                                                                                                        -90
                                                                           100 kHz
                                 -90
                                -100                                                                                                                       -110

                                -110
                                                                                                                                                           -130
                                                                           1 MHz
                                -120
                                -130                                                                                                                       -150       3                 4                    5                  6                      7
                                        0     2     4     6    8      10     12     14   16   18   20      22   24                                                10               10                   10                 10                     10
                                                                   Tuning Voltage (V)                                                                                                       Frequency Offset (Hz)
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    MAOC-415000
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    10 - 20 GHz                                                                                                                                                                 Rev. V1

     Supply Current vs. Tune/Supply Voltage                                                             Sample Board Schematic9
                  90

                  85           Vcc=4.75 V
                               Vcc=5.00 V
                               Vcc=5.25 V
                  80

                  75
       Icc (mA)




                  70

                  65

                  60

                  55

                  50
                       0   2    4    6      8   10   12   14   16   18    20   22    24
                                            Tuning Voltage (V)



    Recommended PCB Sample Board
                                                                                                        9. All N/C and GND pins should be connected to RF/DC ground.

                                                                                                        Parts List
                                                                                                            Component                                 Description
                                                                                                                                               PT-0009707 SMB,
                                                                                                                  PCB
                                                                                                                                           0.254mm Rogers RO4350B
                                                                                                                   U1                               MAOC-415000
                                                                                                                   C1                     CAP, 100 pF, 0402 Case size
                                                                                                                   C2                     CAP, 10 µF, 0805 Case Size
                                                                                                                  C3                    CAP, 0.1 µF, 0402 Case Size
                                                                                                                   J1                           DC Header
                                                                                                                 J2, J3                RF Connector, SMA HF, Johnson
     PCB Land Pattern




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    MAOC-415000
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    10 - 20 GHz                                                                                                                                                              Rev. V1


    Pin Descriptions
              Pin #                  Function                     Description                                        Equivalent Interface Schematic
                                                        No connect pins. These pins
           7, 19, 24                      N/C           should be connected to RF/
                                                                DC ground.


    1-3, 5, 6, 8-11, 13,                                 Ground pins. These pins
    14, 16-18, 20-23,                    GND            should be connected to RF/
             25                                                 DC ground.




                 4                      VTUNE             VCO tune voltage input




                                                         VCO RF output. Internally
                15                        RF
                                                              DC blocked.




                12                        VCC               VCO supply voltage.




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    MAOC-415000
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    10 - 20 GHz                                                                                                                                                              Rev. V1


     Lead-Free 4 mm 24-Lead AQFN Package†




               All dimensions and tolerances are shown as millime-




    † Reference Application Note S2083 for lead-free solder reflow recommendations.
       Meets JEDEC moisture sensitivity level 3 requirements.
       Plating is NiPdAu over Copper




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    MAOC-415000
    Broadband VCO w/ Buffer Amplifier
    10 - 20 GHz                                                                                                                                                              Rev. V1




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